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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

              v.                            Criminal Action No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.,

                      Defendant.

                                     PROPSED ORDER

       The Court, having considered Defendant Roger J. Stone, Jr.’s Unopposed Motion To

Extend Surrender Date, finds good cause to extend Stone’s deadline for voluntary surrender to

the Bureau of Prisons to serve the sentence imposed in this action. Defendant suffers from

significant medical conditions that put him at high risk of serious complications from COVID-

19, which would be considerably heightened in a prison facility. Accordingly, Defendant

requests that his surrender date be extended from June 30, 2020 until September 3, 2020. The

Court is informed that the government does not oppose this application.

       Based on the foregoing, it is hereby ordered that Roger J. Stone, Jr.’s Unopposed Motion

To Extend Surrender Date until September 3, 2020 is GRANTED.



                                            _____________________________
                                            AMY BERMAN JACKSON
                                            United States District Judge

DATE: June __, 2020
